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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                      CRIMINAL MINUTES—GENERAL
                                                                                                         Page 1 of 1
Case No.      CR 17-401-DMG                                                               Date       August 9, 2017

Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE
Interpreter     N/A
               Kane Tien                        Anne Kielwasser                             Kimberly D. Jaimez
              Deputy Clerk                            Court Reporter                        Assistant U.S. Attorney

U.S.A. v. Defendant(s):                     Present     Cust.   Bond   Attorneys for Defendant(s):    Present   Appt.   Ret.
Charles Klasky                                ✗                  ✗     William C. Fleming, Jr.          ✗                   ✗

    Proceedings: GUILTY PLEA HEARING

    X         Defendant is sworn and waiver of Defendant’s Constitutional Rights is taken. Defense counsel
              joins in waiver of Defendant’s Constitutional Rights.

    X         Defendant, CHARLES KLASKY, enters a plea of GUILTY to the Single-Count Information.

    X         The Court questions Defendant regarding plea of GUILTY, and finds a factual and legal basis for
              the plea, the plea is free of any coercive influence, and the plea is voluntarily made with full
              knowledge of the charges against Defendant and the consequences of the plea; that, aside from
              the written Plea Agreement, there have been no promises of any kind made to Defendant by
              anyone and no threats or coercion have been exerted upon Defendant in any manner. The Court
              ORDERS the plea accepted and entered.

    X         The Court refers Defendant to the Probation Office for investigation and preparation of a pre-
              sentence report and continues the matter to November 15, 2017 at 11:00 a.m. for sentencing.
              Defendant is ordered to appear. Bail to stand.

    X         Other: Counsel shall comply with the Federal Rules of Criminal Procedure. The
              Government’s Sentencing Position is due at least two weeks prior to the sentencing date.
              Defendant’s Sentencing Position is due at least one week before the sentencing date. If
              there are no position papers, counsel are directed to file a notice of non-opposition. Late
              filing of position papers, other than letters of support, may cause a postponement of the
              sentencing hearing.

    cc:        USPO                                                                                             : 39
               PSA




    CR-08                              CHANGE OF PLEA MINUTE ORDER                            Initials of Deputy Clerk KT
